                 Case: 15-11916         Doc: 93       Filed: 09/14/15       Page: 1 of 4



The evidentiary hearing set for September 15, 2015, at 11:00 a.m. is hereby stricken.




Dated: September 14, 2015
The following is ORDERED:
                                           Tom R. Cornish
                                           U.S. Bankruptcy Judge
 __________________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


In Re:                                                    )
                                                          )
Alexander Louis Bednar,                                   )        Case No. 15-11916-TRC
                                                          )        Chapter 7
                                                          )
                                                          )
                                         Debtor.          )


                    AGREED ORDER TERMINATING AUTOMATIC STAY
                    AND DIRECTING ABANDONMENT OF PROPERTY

         This Court, after review and consideration of the Motion for Relief from Automatic Stay and

Request for Abandonment and Notice of Opportunity for Hearing (“Motion”) filed July 21, 2015 by

RCB Bank; the Debtor’s Response to Motion for Relief from Automatic Stay (“Response”) filed

August 4, 2015 by Alexander Louis Bednar; the pleadings on file in this case; and signatures of counsel

below, finds as follows:

         1.     Mr. Bednar filed a voluntary petition for relief under Chapter 7 of Title 11 of the

United States Code on May 20, 2015.
                  Case: 15-11916             Doc: 93       Filed: 09/14/15          Page: 2 of 4




         2.       In Schedule A – Real Property Mr. Bednar listed his ownership of the real property

described as:

                       Lots One (1) and Nine (9), in Block Seven (7), of
                       ESPERANZA ADDITION, Section 2, to the City of
                       Oklahoma City, Oklahoma County, Oklahoma, according to
                       the recorded plat thereof.

                       a/k/a 15721 Via Bella, Edmond, Oklahoma 73013-8567

(the “Esperanza Property”).

         3.       In its Motion, RCB Bank sought termination of the automatic stay and abandonment of

the Esperanza Property pursuant to 11 U.S.C. Section 362(d)(1) and (2) and F.R.Bankr.P. 4001; and for

an order directing abandonment pursuant to 11 U.S.C. Section 554, and F.R.Bankr. 6007 so that RCB

Bank could continue its foreclosure petition pending in the District Court in and for Oklahoma County,

Oklahoma, RCB Bank v. Alexander Bednar; Jill Ann Bednar; Kentco, Inc., d/b/a American Mortgage Source;

Mortgage Electronic Registration Systems, Inc.; Charles F. Alden, III, Inc.; Rosenstein, Fist & Ringold, Inc.; Andrea

Kunkel; Kent Rainey; Oklahoma County Treasurer; and the Villas at Esperanza Owner’s Association, Inc., Case No.

CJ-2015-192, (the “State Court Case”).

         4.       Mr. Bednar claimed the Esperanza Property as exempt, no objections to the claim of

exemption have been filed, and the time to file an objection to the claim of exemption has expired;

therefore, the Esperanza Property is no longer property of the bankruptcy estate.

         5.       A Discharge of Debtor was entered on September 11, 2015; therefore, the automatic

stay has been terminated pursuant to 11 U.S.C. Section 362(c)(2)(C).

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the automatic

stay of 11 U.S.C. Section 362 is terminated.




                                                           2
                Case: 15-11916         Doc: 93       Filed: 09/14/15      Page: 3 of 4




        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Esperanza

Property is abandoned from the bankruptcy estate pursuant to 11 U.S.C. Section 554.

        IT IS FURTHER ORDERED, ADJUDGED AND DECREED that RCB Bank may

continue with the State Court Case to foreclose and liquidate its interest in the Esperanza Property.




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              Case: 15-11916          Doc: 93   Filed: 09/14/15   Page: 4 of 4




AGREED TO AS TO FORM AND CONTENT:


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